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                    IN THE UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In re:                                                  Chapter 7

Power Home Solar, LLC                                   Case No. 22-50228


                        Debtor(s).

                                        REPORT OF SALE


Now comes JIMMY R. SUMMERLIN, JR., the Chapter 7 trustee (the “Trustee”) appointed and

serving herein, and provides the following report of sale of certain assets of the Debtor pursuant

to that certain Order entered December 19, 2022 (Docket No. 232):



Auction Location:                Sarver, PA
Auction Closing Date:            February 10, 2023

Operating Assets
(as defined in the Order)
                                 Gross Sale Proceeds                                 $197,532.00
                                 Buyer’s Premium                                      $19,753.20
                                 TOTAL RECEIPTS                                      $217,285.20

                                 Auctioneer’s Comm’n                                  $26,249.80
                                 Auctioneer’s Buyer’s Premium                         $19,753.20
                                 Auctioneer’s Expense                                  $5,408.00
                                 Balance to Debtor’s Estate/Trustee                  $165,874.20
                                 TOTAL DISBURSMENTS                                  $217,285.20

                                 Balance to be disbursed
                                 (Total Receipts less Total Disbursements)                  $0.00
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Titled Property
(as defined in the Order)
                               Gross Sale Proceeds                          $45,450.00
                               Buyer’s Premium                               $6,747.50
                               TOTAL RECEIPTS                               $52,197.50

                               Auctioneer’s Buyer’s Premium                  $6,747.50
                               Balance to Debtor’s Estate/Trustee           $45,450.00
                               TOTAL DISBURSMENTS                           $52,197.50

                               Balance to be disbursed
                               (Total Receipts less Total Disbursements)         $0.00


Dated: March 3, 2023.                     YOUNG, MORPHIS, BACH & TAYLOR, LLP

                                          /s/ Jimmy R. Summerlin, Jr.
                                          Jimmy R. Summerlin, Jr.
                                          N.C. State Bar No. 31819
                                          P.O. Drawer 2428
                                          Hickory, NC 28603
                                          Attorneys for Trustee
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